
673 S.E.2d 868 (2009)
STATE of North Carolina
v.
Christopher Melvin HUNT.
No. 400P08.
Supreme Court of North Carolina.
February 5, 2009.
Robert C. Montgomery, Special Deputy Attorney General, L. Johnson Britt, III, District Attorney, for State of NC.
Haral E. Carlin, Fayetteville, for Hunt.
Prior report: ___ N.C.App. ___, 664 S.E.2d 662.

ORDER
Upon consideration of the petition filed by State of NC on the 5th day of September 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
Upon consideration of the petition filed on the 5th day of September 2008 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
